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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

PMC CASUALTY CORP.,                         )
                                            )
                      Plaintiff,            )
                                            )
       vs.                                  )            Case No. 24 C 7795
                                            )
VIRGINIA SURETY CO., INC.,                  )
                                            )
                      Defendant.            )


                         MEMORANDUM OPINION AND ORDER

MATTHEW F. KENNELLY, District Judge:

       PMC Casualty Corp. sued Virginia Surety Co., Inc. for breach of a reinsurance

agreement. It alleged that Virginia Surety failed to pay certain reserves—an over $18

million "Cancellation Refunds" amount and an over $1.8 million "Open Claims"

amount—owed to PMC Casualty. Virginia Surety moved to dismiss the complaint,

arguing that it had the right under the reinsurance agreement to withhold these funds.

       The case, originally filed in the Middle District of Florida, was transferred to the

Northern District of Illinois and reassigned to the undersigned judge. This Court denied

Virginia Surety's motion to dismiss, concluding that a provision in the reinsurance

agreement allowing Virginia Surety to deduct "any other amount relevant to the

Agreement" from what it owed to PMC Casualty was too ambiguous to justify dismissal

of the complaint for failure to state a claim.

       Virginia Surety has filed a motion to reconsider the denial of its motion to dismiss.

It argues that the Court did not consider its arguments concerning other provisions in

the reinsurance agreement that it contends allow it to withhold funds. The Court agrees
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that it did not consider these arguments in its initial ruling. But upon considering these

arguments, the Court finds the additional reinsurance agreement provisions cited by

Virginia Surety to be too ambiguous to justify dismissal and concludes that PMC

Casualty has plausibly alleged its claims. The Court therefore grants Virginia Surety's

motion for reconsideration but denies its motion to dismiss.

                                       Background

       At the motion to dismiss stage, the Court accepts as true all well-pleaded factual

allegations. Ashcroft v. al-Kidd, 563 U.S. 731, 734 (2011). Protect My Car, LLC and

Protect My Car Admin Services, Inc. (collectively "Protect My Car") sold vehicle service

contracts, a form of extended warranties, to owners of motor vehicles. Protect My Car

obtained liability insurance—called contractual liability insurance policies (CLIPs)—from

defendant Virginia Surety to insure its obligations under the service contracts. Virginia

Surety then obtained insurance from PMC Casualty to protect it against the risks it

assumed under the CLIPs.

       The relationship between PMC Casualty and Virginia Surety is governed by a

written contract called a reinsurance agreement. Under the agreement, Virginia Surety

ceded, and PMC Casualty reinsured, 100% of the risk of any payments that might have

to be made under the vehicle service contracts covered by the CLIPs. In exchange,

PMC Casualty receives any net positive reserves created by the service contracts,

including any surplus premiums Virginia Surety received as a result of a service contract

being cancelled mid-term.

       The reinsurance agreement required PMC Casualty to maintain a trust account

or a letter of credit to secure its obligations to Virginia Surety. PMC Casualty and



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Virginia Surety agreed that Virginia Surety could withdraw assets from the trust account

only for four enumerated purposes: (1) to reimburse Virginia Surety for PMC Casualty's

"share of premiums refunded pursuant to the provisions of the Reinsured Policies on

account of cancellations of those Reinsured Policies," (2) to reimburse Virginia Surety

for PMC Casualty's "share of surrenders" and benefits or losses paid by Virginia Surety

"pursuant to the terms and provisions of the Reinsured Policies," (3) to fund an account

to cover reserves for claims and losses incurred; and (4) "to pay any other amounts

[Virginia Surety] claims are due under this [a]greement." PMC Casualty's Compl., Ex. 1

§ A-11(e).

      The agreement also set out a method for calculating the account between PMC

Casualty and Virginia Surety to determine ownership of any net reserves. If the amount

calculated resulted in net positive reserves, the net was due to PMC Casualty from

Virginia Surety. But if the net was negative, the net was due to Virginia Surety from

PMC Casualty.

      In April 2023, PMC Casualty and Virginia Surety agreed to amend the

reinsurance agreement. The amendment transferred the funds previously held in PMC

Casualty's trust account to a Funds Withheld Account to be held by Virginia Surety. The

amendment did not, however, change the limitations upon Virginia Surety for

withdrawing assets from the account.

      One last relevant requirement of the reinsurance agreement is that it required

Virginia Surety to provide quarterly reports concerning the reserves in the account.

According to PMC Casualty, two reports issued by Virginia Surety—a "Q4 2023" report

and an "'as of' January 31, 2024" report—acknowledged reserves due to PMC



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Casualty. PMC Casualty's Compl. ¶¶ 29–30. These reports indicated that over $18

million of "cancellations" and over $1.8 million of "claims" were due to PMC Casualty.

Id.

         PMC Casualty alleges that it asked for payment of these "Cancellation Refunds"

and "Open Claims" amounts, but Virginia Surety declined to pay, citing potential

liabilities in a separate lawsuit filed in state court by PayLink Payment Plans, LLC. PMC

Casualty's complaint references this PayLink lawsuit, and Virginia Surety has attached

PayLink's complaint to its motion to dismiss, so the Court may consider the contentions

made in that lawsuit. See Reed v. Palmer, 906 F.3d 540, 548 (7th Cir. 2018); see also

Black Bear Sports Grp. v. Amateur Hockey Ass'n of Ill., inc., No. 18 C 8364, 2019 WL

2060934, at *3 (N.D. Ill. May 9, 2019) (Kennelly, J.) ("[W]here . . . significant documents

are referenced in the complaint and attached by the defendant to its motion to dismiss,

those documents are considered to be incorporated into the pleadings and a court may

consider them.") (collecting cases).

         In the PayLink action, PayLink alleges that Virginia Surety owes it roughly $20

million in vehicle service contract cancellation refunds. Although PayLink is not a party

to the reinsurance contract between Virginia Surety and PMC Casualty, PayLink

contends it has a right to refunds as a financier of the underlying vehicle service

contracts sold by Protect My Car. PayLink financed vehicle service contracts by

agreeing to advance Protect My Car a percentage of the sales price that it charged the

vehicle owners. In exchange, Protect My Car would pay PayLink the installment

payments due from vehicle owners until PayLink collected the amount it advanced, plus

a fee.



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       PayLink alleges that about 30,000 of the contracts it financed were cancelled by

vehicle service owners before it was able to recoup its advances and fees from Protect

My Car. PayLink sued Virginia Surety for compensation, alleging that it is owed refund

amounts mandated by statute. Under Illinois law, motor vehicle owners have the right

to cancel service contracts at any time. 215 ILCS 152/35(a). Illinois law further requires

a vehicle owner who cancels a service contract to receive "a pro rata refund of the

service contract for the unexpired term of the service contract." Id. 152/35(a)(2).

Presumably to ensure these refunds are paid, Illinois law also requires a service

contract provider to be "insured" and provides that "the insurer will pay to, or on behalf

of, the service contract provider all sums that the service contract provider is legally

obligated to pay." Id. 152/15(1)(A)–(D).

       According to PayLink, Protect My Car had the vehicle owners sign over to

Protect My Car any refund rights they had regarding vehicle service contracts. Protect

My Car then assigned these rights to PayLink via a clause in their agreement in which

Protect My Car assigned PayLink all rights to its accounts if it failed to fully pay for

PayLink's financing services. And because Virginia Surety is Protect My Car's insurer,

PayLink alleges, Virginia Surety is on the hook for paying these refunds.

       As indicated earlier, Virginia Surety is alleged to have refused to pay PMC

Casualty the withheld amounts based on potential liabilities stemming from the PayLink

lawsuit. PMC Casualty did not believe this was a proper reason under the reinsurance

agreement to withhold the funds and thus filed the present lawsuit against Virginia

Surety for breach of contract. Virginia Surety moved to dismiss the complaint, arguing

that several provisions of the reinsurance agreement granted it the right to withhold the



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funds.

         Virginia Surety advanced five arguments for why the complaint should be

dismissed: (1) it may reimburse itself for PMC Casualty's "share of premiums refunded

pursuant to the provisions of the Reinsured Policies on account of cancellations of those

Reinsured Policies" under section A-11(e)(1); (2) it may reimburse itself for PMC

Casualty's "share of surrenders" and benefits or losses paid by Virginia Surety

"pursuant to the terms and provisions of the Reinsured Policies" under section A-

11(e)(2); (3) the withheld funds fall under section A-11(e)(4), which allows Virginia

Surety "to pay any other amounts [Virginia Surety] claims are due under this

[a]greement"; (4) PMC Casualty has not plausibly alleged any right to the Open Claims

amount; and (5) Virginia Surety lacks any obligation to pay PMC Casualty any amounts

under the reinsurance agreement because PMC Casualty lacks a valid Delaware

certificate of authority.

         The parties spent most of their motion to dismiss briefing debating the third

argument—whether the withheld funds could be considered payment "due" to Virginia

Surety under the reinsurance agreement pursuant to section A-11(e)(4). As discussed

above, whether reserves are due to either party of the reinsurance agreement is

determined by whether the account between PMC Casualty and Virginia Surety

contains net positive or negative reserves. Virginia Surety argued that the account was

at a net negative—and thus that Virginia Surety was owed the funds it was

withholding—because the possible liability it faced from the PayLink action was

deductible from the calculation of the account pursuant to section A-10(a)(5), which

instructs "any other amount relevant to the Agreement" to be deducted from the



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account's calculation. PMC Casualty's Compl., Ex. 1 at 6.

       In its motion to dismiss ruling, the Court concluded that the dispute "largely

boil[ed] down to a disagreement" over the meaning of section A-10(a)(5), specifically

whether that section allowed Virginia Surety to deduct its possible liability to PayLink

from the account calculation. Mem. Opinion & Ord. at 4, Dkt. No. 58. The Court

concluded that "[t]he contractual term 'amount(s) relevant to the agreement'" in section

A-10(a)(5) was "arguably facially ambiguous," was "not defined in the reinsurance

agreement," and "[i]ts interpretation at least arguably may entail consideration of

extrinsic evidence and thus may involve questions of fact." Id. at 4–5. On that basis,

the Court concluded that the complaint should not be dismissed. The Court also briefly

touched on Virginia Surety's fifth argument—that PMC Casualty lacked a valid

certificate of authority from the state of Delaware—and found that it "lack[ed] merit, at

least on the present record." Id. at 5. The Court did not address the three other

arguments Virginia Surety advanced.

       Virginia Surety filed the present motion for reconsideration of this Court's ruling.

It does not ask the Court to revisit its conclusions that the relevant term in section A-

10(a)(5) is ambiguous or that PMC Casualty has plausibly alleged a valid certificate of

authority. Instead, Virginia Surety asks the Court to consider its three other arguments

for withholding the funds that the Court did not address: (1) Virginia Surety can

reimburse itself for PMC Casualty's "share of premiums refunded pursuant to the

provisions of the Reinsured Policies on account of cancellations of those Reinsured

Policies" under section A-11(e)(1); (2) Virginia Surety can reimburse itself for PMC

Casualty's "share of surrenders" and benefits or losses paid by Virginia Surety



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"pursuant to the terms and provisions of the Reinsured Policies" under section A-

11(e)(2); and (3) PMC Casualty has not plausibly alleged any right to the Open Claims

amount.

                                         Discussion

         There is no question that Virginia Surety's motion for reconsideration is

appropriate here, because the Court did not address independent arguments it made for

dismissal of PMC Casualty's complaint. And this is not a situation where one can say

that the arguments, though not expressly referenced, were addressed implicitly in the

Court's ruling. The Court just plain did not address them and therefore proceeds to do

so now.

         To survive a motion to dismiss, a complaint must "state a claim to relief that is

plausible on its face." Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell. Atl.

Corp. v. Twombly, 550 U.S. 544, 570 (2007)). For a claim to have "facial plausibility," a

plaintiff must "plead[] factual content that allows the court to draw the reasonable

inference that defendant is liable for the misconduct alleged." McCauley v. City of

Chicago, 671 F.3d 611, 615 (7th Cir. 2011) (quoting Iqbal, 556 U.S. at 678). The Court

views the complaint in "the light most favorable to the plaintiff, taking as true all well-

pleaded factual allegations and making all possible inferences from the allegations in

the plaintiff's favor." AnchorBank, FSB v. Hofer, 649 F.3d 610, 614 (7th Cir. 2011).

A.       Cancellation Refunds amount

         Virginia Surety first contends that sections A-11(e)(1) and (2) of the reinsurance

agreement unambiguously allow it to withhold the Cancellation Refunds amount. The

parties do not dispute that Illinois law governs the construction of the reinsurance



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agreement at issue. Cf. Bourke v. Dun & Bradstreet Corp., 159 F.3d 1032, 1036 (7th

Cir. 1998) (noting that a federal court applies the "state substantive law" of "contract

interpretation" when it asserts diversity jurisdiction over the parties). "Under Illinois law,

the interpretation of an unambiguous contract is a question of law . . . ." Echo, Inc. v.

Whitson Co., Inc., 121 F.3d 1099, 1104 (7th Cir. 1997). "If the contract is unambiguous,

therefore, a breach of contract claim is susceptible to dismissal for failure to state a

claim." Id. Ambiguities within the contract, however, "create a question of fact" that

cannot be resolved on a motion to dismiss. Id.

       "A contract is ambiguous if its terms are indefinite or have a double meaning."

Lewitton v. ITA Software, Inc., 585 F.3d 377, 379 (7th Cir. 2009). "It is well established"

that a contract is not ambiguous "simply because the parties offer different

interpretations of its language." Curia v. Nelson, 587 F.3d 824, 829 (7th Cir. 2009).

Rather, "[t]he question of contract ambiguity turns largely on whether the contract

language is 'reasonably susceptible to more than one meaning.'" Id. (quoting Susmano

v. Associated Internists of Chi., Ltd., 97 Ill. App. 3d 215, 219, 422 N.E.2d 879, 882

(1981)).

       As discussed above, sections A-11(e)(1) and (2) of the reinsurance agreement

grant Virginia Surety some authority to withhold funds. Section A-11(e)(1) allows

Virginia Surety to withhold funds "to reimburse [it] for [PMC Casualty's] share of

premiums refunded pursuant to the provisions of the Reinsured Policies on account of

cancellations of those Reinsured Policies." PMC Casualty's Compl., Ex. 1 at 8. Section

A-11(e)(2) allows Virginia Surety to withhold funds "to reimburse [it] for [PMC

Casualty's] share of surrenders and benefits or losses paid by [Virginia Surety] pursuant



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to the terms and provisions of the Reinsured Policies." Id. In simpler terms, Virginia

Surety may withhold funds to reimburse itself for payments it had to shell out based on

the "Reinsured Policies," either because those policies were cancelled and refunds had

to be paid (section A-11(e)(1)) or because some claim was made under those policies

that had to be paid out (section A-11(e)(2)).

       Virginia Surety and PMC Casualty posit two different interpretations for what

"Reinsured Policies" refers to in these provisions. According to Virginia Surety, the

"Reinsured Policies" are "Designated Contracts," which the reinsurance agreement

defines as "any Service Contract . . . covered by an Insurance Policy." Id. at 3. In other

words, Virginia Surety believes the Reinsured Policies are the underlying vehicle

service contracts that Protect My Car sold to motor vehicle owners which Virginia Surety

insured. Because those contracts were cancelled and PayLink is demanding refunds,

Virginia Surety contends that it can withhold the Cancellation Refunds amount pursuant

to these provisions.

       According to PMC Casualty, however, the "Reinsured Policies" are the insurance

policies that Virginia Surety sold to Protect My Car—i.e., the CLIPs. Under this

interpretation, Virginia Surety cannot withhold funds under these provisions, as no

CLIPs have been cancelled and Virginia Surety has not cited any losses that it has had

to pay pursuant to the terms and provisions of the CLIPs.

       On its face, the phrase "Reinsured Policies" seems reasonably susceptible to

both interpretations. Yet Virginia Surety contends that its interpretation of "Reinsured

Policies" must be right based on the phrase's in-agreement definition. Virginia Surety is

correct that under Illinois law, a contract's definitions "supersede" any plain meaning of



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the term used. See Straits Fin. LLC v. Ten Sleep Cattle Co., 900 F.3d 359, 371 (7th

Cir. 2018). But the reinsurance agreement's definition of "Reinsured Policies" is far

from enlightening. The agreement states that a "'Reinsured Policy' means any

Insurance Policy or Designated Contract or either of them, as the context may require."

PMC Casualty's Compl., Ex. 1 at 4. So "Reinsured Policies" in sections A-11(e)(1) and

(2) could refer to "Designated Contracts"—i.e., the underlying vehicle service

contracts—as Virginia Surety suggests. But it could also refer to the "Insurance

Policies" between Virginia Surety and Protect My Car—the CLIPs. Or it could refer to

both. The in-agreement definition of "Reinsured Policies" thus does not help much in

resolving these sections' ambiguity.

       Virginia Surety remains undeterred by this apparent ambiguity built into the

definition of "Reinsured Policies." It latches on to the last part of the definition, "as the

context may require," and argues that the context of these provisions indicates they are

referring to the vehicle service contracts and not to the insurance policies on those

contracts (the CLIPs).

       First, Virginia Surety contends that the term "share" in these provisions indicates

that these provisions refer to the vehicle service contracts. According to Virginia Surety,

it is more "intuitive to speak of PMC Casualty's 'share' of the thousands of Designated

Contracts cancelled or surrendered by consumers" than it is "to speak of PMC

Casualty's 'share' of cancelled or surrendered CLIPs, only two of which were issued."

Virginia Surety's Mem. in Support of Mot. for Reconsideration at 6. But Virginia Surety

cites no definition of "share," let alone one that supports its contention that "share" fits

better when referring to thousands of contracts as opposed to two.



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       When a term is left undefined in a contract, as the term "share" is here, Illinois

law requires it to be given its "plain, ordinary, and popular meaning." Page v. Alliant

Credit Union, 52 F.4th 340, 346 (7th Cir. 2022) (quoting Sproull v. State Farm & Fire

Cas. Co., 2021 IL 126446, ¶ 19, 184 N.E.3d 203, 209)). The ordinary meaning of the

noun "share" is "a portion belonging to, due to, or contributed by an individual or group."

Share, Merriam-Webster.com, https://www.merriam-webster.com/dictionary/share. It is

reasonable to describe PMC Casualty as having a "share" in the premiums refunded or

losses paid, in that it must "contribute" "a portion" of those premiums or losses to

Virginia Surety under the reinsurance agreement. But nothing in the term "share," at

least how it is ordinarily understood, makes it more natural for it to refer to the agreed

contribution of funds towards thousands of contract payments as opposed to just two.

       Second, Virginia Surety contends that the reference to "refunds" in section A-

11(e)(1) indicates that the term "Reinsured Policies" refers to the vehicle service

contracts, as it is those contracts that might require refunds if cancelled. PMC Casualty

disagrees, contending that the use of the insurance-specific term "premium" in this

provision indicates that the possible refunds being contemplated are those that might

have to be paid upon cancellation of the insurance-policy CLIPs themselves. Both

arguments seem plausible. The Court thus finds that the context of these provisions, at

least on the current record, does not require "Reinsured Policies" to refer to the vehicle

service contracts.

       Because the term "Reinsured Policies" is defined in the reinsurance agreement

as possibly referring to the vehicle service contracts, or to the CLIPs, or to both, and

because there does not appear to be any "context" that requires Virginia Surety's



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interpretation, section A-11(e)(1) and (2) are ambiguous. This ambiguity creates a

question of fact that cannot be resolved on a motion to dismiss. The Court therefore

denies Virginia Surety's motion to dismiss PMC Casualty's breach of contract claim

involving the Cancellation Refunds amount.

       2.     Open Claims amount

       Next, Virginia Surety contends that PMC Casualty has not plausibly alleged it is

owed the Open Claims amount under the reinsurance agreement. Virginia Surety

emphasizes that PMC Casualty's only alleged basis for being owed the Open Claims

amount are the reports issued by Virginia Surety concerning the reserves in the

account. Specifically, PMC Casualty alleges that "the report to PMC Casualty for Q4

2023 and the report to PMC Casualty dated 'as of' January 31, 2024" reflect

acknowledgment by Virginia Surety that the Open Claims amount is owed to PMC

Casualty. PMC Casualty's Compl. ¶ 44. The Court may properly consider these

reports, which both parties have attached as exhibits, when ruling on Virginia Surety's

motion to dismiss, as they "are critical to the complaint and referred to in it." Reed,

906 F.3d at 548.

       The Court concludes that PMC Casualty has plausibly alleged its breach of

contract claim for the Open Claims amount. The Q4 2023 report states that

$1,889,541—the amount identified as the Open Claims amount—reflects "claims due

PMC [sic]." Baird Decl., Ex. 1 at 1. Virginia Surety contends that PMC Casualty

misinterprets this report, as the later January 31, 2024 report qualifies the same amount

with a note that states "[t]hese claim submissions were for contracts written in states in

which a CLIP is not required and for which no payment was received." Virginia Surety's



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Mem. in Supp. of Mot. to Dismiss, Ex. A at 1. Because the reinsurance agreement

requires Virginia Surety to compensate PMC Casualty only for reserves obtained via

vehicle service contracts insured by CLIPs, Virginia Surety argues that the amount

reflected as the Open Claims amount in these reports is not owed to PMC Casualty at

all.

       Although a court may consider attached documents critical to the complaint, that

does not mean that it may resolve factual disputes on a motion to dismiss. The Q4

2023 report indicates, without qualification, that the Open Claims amount is owed to

PMC Casualty. But the later January 31, 2024 report contradicts the prior report by

adding a qualification that states this amount is not actually owed to PMC Casualty

under the reinsurance agreement. The Court cannot determine on a motion to dismiss

which report is more persuasive; that would require resolving a factual dispute. PMC

Casualty's breach of contract claim is plausible based on the alleged admission in the

Q4 2023 report, and it remains plausible even in the face of a conflicting later report.

       Finally, Virginia Surety contends that PMC Casualty puts too much weight into

the reports' alleged admissions. Virginia Surety emphasizes that, under the reinsurance

agreement, it only owes any "net" positive amounts created by the underlying contracts,

not any other amounts that the reports reflect. The Open Claims amount, according to

Virginia Surety, is just an above-the-line factor that impacts what Virginia Surety might

owe PMC Casualty but that does not reflect any actual net payments owed.

       Even if the Court accepts that the Open Claims amount solely reflects an above-

the-line factor that goes into calculating a net result, and not a net result itself, an

acknowledgment that Virginia Surety maintains a large sum plausibly indicates that it



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owes a positive net amount to PMC Casualty under the reinsurance agreement.

Virginia Surety disagrees, noting that the January 31, 2024 report includes a large

"premium" sum owed from PMC Casualty to Virginia Surety that would offset the Open

Claims amount. PMC Casualty challenges the validity of this offset, however, as no

amount of that large "premium" offset—which apparently amounts to $4,512,641—was

present in the prior Q4 2023 report issued only two months prior. With this discrepancy

in mind, a report stating that over $1.8 million is due to PMC Casualty, even if the report

just reflects an above-the-line calculation, supports a plausible breach of contract claim

for the Open Claims amount.

                                       Conclusion

       For the reasons stated above, the Court grants Virginia Surety's motion for

reconsideration [dkt. no. 67], but denies its motion to dismiss PMC Casualty's complaint

[dkt. no. 14].

Date: June 16, 2025

                                                 ________________________________
                                                      MATTHEW F. KENNELLY
                                                      United States District Judge




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